Case|5:16-cv-00357-WFJ-PRL Document7 Filed 06/20/16

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PETITIONER'S RESPONSE TA THE COURT'S ©

ORDER TO SHOW CAUSE DATED JUNE Z, Z2dlb

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APPENDIX

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STATE OF FLORIDA .

DEPARTMENT OF CORRECTIONS

Page 5 of 16 PagelD 53

Mail Number: G 22-1 3

INMATE REQUEST

Team Number:

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Institution:

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TO: oO Warden t
(Check One) C) Asst. Warden C Security [) Mental Health
| FROM: Inmate Name DC Number Quarters Job Assignment | Date
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REQUEST Check here if this is an informal grievance [_]
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All requests will be handled in one of the following ways: 1) W
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Titten Information or 2) Personal Interview. All

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Inmate (Signature): Vm Cla CS
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IThe following pertains to informal grievances only:

» (Returned, Denied, or Approved). If your informal grievance Is dented,

Based on the ahove information, your grievance is
you have the right to submit a formal grievance in accurdance with Chapter 33-103.006, F.A.C.]
Official (Print Name): Official (Signature): Date:

Original: Inmate (plus one copy)
CC: Retained by official responding or if the response is to an informal grievance then forward to be placed in inmate's file

This form is also used to file informal grievances in accordance with Rule 33- 103.005, Florida Administrative Code.

Informal Grievances and Inmate Requests will be responded to within 10 days, following receipt by staff.

You may abtain further administrative review of your complaint by obtaining form DC1-303. Request for Administrative Remedy or Appeal, completing the form as
ce and response, and forwarding your complaint to the warden or assistant warden no

required by Rule 33-103.006, F.A.C.. attaching a copy of your informal grievan
later than 15 days after the grievance is responded to. Ifthe 15th day falls on a weekend or holiday. the duv date shall be the next régular werk day.

DC6-236 (Effective 12/14)
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Case 5:16-cv-00357-WFJ-PRL Document7 Filed 06/20/16 Page 7 of 16 PagelD 55
IN THE CIRCUIT COURT OF THE FIFTH JUDICIAL
CIRCUIT IN AND FOR LAKE COUNTY, FLORIDA
STATE OF FLORIDA,
Vv. Case Number: 2000-CF-2130
DONALD OTIS WILLIAMS,

Defendant.
/

NOTICE TO THE COURT

Notice is hereby given that, Defendant's Attorney-in-Fact and authorized preparer
of court submittals is now deceased.

Ms. Martha Lynne Fichman passed away unexpectedly following kidney surgery
on February 27, 2016.
Please see Exhibit-W attached hereto with this instrument.

Defendant has just recently acquired the “State of Louisiana Certificate of Vital
Record, Certification of Death.”
(Exhibit-W)

Whereas notice to the court Defendant's Attorney-in-Fact and legal document

preparer is now deceased.
Case 5:16-cv-00357-WFJ-PRL Document 7 Filed 06/20/16 Page 8 of 16 PagelD 56

CERTIFICATE OF SERVICE
I HEREBY CERTIFY, the Notice of the Court and exact copy has been sent to
Clerk of Court, 500 W. Main Street, Tavares, Florida 32778-7800; and State Attorney,
P.O. Box 7800, Tavares, Florida 32778-7800 respectfully on June_[__, 2016.
Respectfully Submitted by: § Donald O. Williams
Florida State Prison
P.O. Box 800
Raiford, FL 32083
APPENDIX
Document Exhibit

State of Louisiana Certification of Vital Record,

Certification of Death Regarding Martha Lynne Fichman............... W

OATH
I HEREBY CERTIFY the above statement is true and correct. Furthermore I
declare under the penalty of perjury all the information provided in the foregoing is true
and correct and also certify the above referenced Exhibit-W is a true and correct copy
provided by Devin George, Louisiana State Registrar.
Executed this | day of June, 2016.

Submitted under oath by Defendant Donald O. Williams DC# U13479

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CERTIFICATION OF DEATH

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DATE OF DISPOSITION

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48158373 > °  THESTATE OF LOUISIANA, PURSUANT TO LSA-RS.40:32, ET SEO.

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Case}5:16-cv-00357-WFJ-PRL Document 7 Filed 06/20/16 Page 10 of 16 PagelD 58

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Case 5:16-cv-00357-WFJ-PRL Document7 Filed 06/20/16 Page 11 of 16 PagelD 59

IN THE CIRCUIT COURT OF THE FIFTH JUDICIAL
CIRCUIT IN AND FOR LAKE COUNTY, FLORIDA

STATE OF FLORIDA,
Respondent, Plaintiff,
V. CASE NO: 2000-CF-2130

DONALD OTIS WILLIAMS,
Defendant, Petitioner,

Vv.

LAKE COUNTY, FLORIDA SHERIFF,
Respondent.

PETITION FOR WRIT OF MANDAMUS

Petitioner comes before this Honorable Court in the above-styled cause and
petitions the court by direct order to the Lake County Florida Sheriff located at 360 W.
Ruby Street, Tavares, Florida 32778 to relinquish Petitioner's eyeglasses immediately

without delay. Support of this extraordinary writ is as follows:

1_ Petitioner respectfully requested the court to direct the State and Lake County
Florida Sheriff to relinquish Petitioner's eyeglasses by ‘Motion to Compel’.

2 This court promptly granted Petitioner's Motion to Compel above mentioned.

3_As of this date the court's order has not been acknowledged, recognized nor
adhered to.

4 The State and Lake County Florida Sheriff's obvious non-compliance to the

court's order is preventing Petitioner from pursuing due process with the court.
Case 5:16-cv-00357-WFJ-PRL Document7 Filed 06/20/16 Page 12 of 16 PagelD 60

Petitioner has been divested of his eyeglasses from the date of confiscation indicated by
date in court recordings as October 23, 2010.

5_Petitioner has written State and County personnel requesting his eyeglasses
citing case law and this court's order but the repetitious acts have not produced a single
response.

6 Petitioner files with the court the petition with great reluctance because the
intentional indifference exhibited by Respondents is unequivocally divesting Petitioner
of his constitutional rights: due process, access to court's and the alike.

7_The deprivation of Petitioner's constitutional rights by Respondents is clearly
unmistakable.

8_The refusal of Respondents to adhere to the court's order requiring Respondents
to relinquish Petitioner's eyeglasses are acts that can only be viewed as intentional
whether to turn the nose up at the court's order or to purposely deprive Petitioner of his
property and constitutional rights.

9 The petition adheres to United States Codes and Florida Supreme Court actions
in direct respect for Petitions for mandamus writs regarding Respondent's official
standings.

10 Petitioner seeks immediate actions upon Respondents without further delay
and damages incurred as deemed appropriate.

11_Due to the complexity of this matter and the companion case the court labeled
Case 5:16-cv-00357-WFJ-PRL Document7 Filed 06/20/16 Page 13 of 16 PagelD 61

as such to the instant cause Petitioner moves the Honorable Court for counsel.

12_In the event this Honorable Court denies this respectfully submitted
extraordinary writ Petitioner requests an appropriate time to appeal and the means to
appeal.

Whereas Petitioner moves the Honorable Court to direct Respondents to
immediately comply with the court's instructions; to compensate Petitioner for the time
Petitioner was deprived of his eyeglasses; and/or appoint counsel to represent Petitioner
in the matter and the foregoing statement.

Respectfully Submitted by: | Donald O. Williams
Florida State Prison

P.O. Box 800
Raiford, FL 32083

CERTIFICATE OF SERVICE
1 HEREBY CERTIFY, that a true and correct copy of the foregoing motion has
been placed in the hands of prison officials at Florida State Prison furnished for mailing
via U.S. Mail to: Fifth Judicial Circuit Court, Clerk of Court, P.O. Box 7800, Tavares,
Florida 32778-7800; State Attorney, P.O. Box 7800, Tavares, Florida 32778-7800 on
this 1 > day of June, 2016.
Ie Wool thst Submitted
/s/ Nold A WW uns
Donald O. Williams
D.O.C.# U13479

Florida State Prison
P.O. Box 800
Case 5:16-cv-00357-WFJ-PRL Document7 Filed 06/20/16 Page 14 of 16 PagelD 62

Raiford, FL 32083

UNNOTARIZED OATH

Under penalties of perjury, I declare that I have read the foregoing motion and the
facts stated in it are true.
Executed this { St day of June, 2016.
/st_ Swot SUS AN as

Case B:16-cv-00357-WFJ-PRL Document7 Filed 06/20/16 Page 15 of 16 PagelD 63

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Case 5:16-cv-00357-WFJ-PRL Document7 Filed 06/20/16 Page 16 of 16 PagelD 64
Case 5:16-cv-00357-WTH-PRL Document4 Filed 06/03/2016 Page 1 of 1 PagelD 46

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

OCALA DIVISION
DONALD OTIS WILLIAMS,
Petitioner,
v. Case No. 5:16-cv-357-Oc-10PRL
SECRETARY, DEPARTMENT OF
CORRECTIONS, et al.,
Respondents.

ORDER TO SHOW CAUSE

Petitioner initiated this case by filing a Petition for Writ of Habeas Corpus pursuant to 28
U.S.C. §2254. See Doc. 1. Petitioner did not pay the required filing fee or request to proceed as
apauper. Accordingly, within TWENTY ONE (21) DAYS from the date of this Order, Petitioner
shall either submit the $5.00 filing fee or complete and file the enclosed Affidavit of Indigency. '
The Clerk is directed to send Petitioner a blank Affidavit of Indigency. Failure to comply with
this order in the allotted time could result in the dismissal of the action without further notice.

IT IS SO ORDERED.

DONE AND ORDERED at Ocala, Florida, this 2nd day of June, 2016.

Shoei

PHILIP R. LAMMENS
United States Magistrate Judge

' Petitioner is reminded to include with an Affidavit of Indigency, a computer printout of all the transactions
in his inmate account for the 6 months preceding the filing of this action.
